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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-CV-00534-RBJ-MJW

  Terrell Frederick, individually, and on behalf of LF, his minor child,

          Plaintiff,

  v.

  Old Chicago of Colorado, Inc.,

          Defendants.


                     STIPULATED MOTION TO DISMISS WITH PREJUDICE


          The Plaintiffs, Terrell Frederick, individually, and on behalf of LF, his minor child, and

  Defendant Old Chicago of Colorado, Inc., by their respective counsel, hereby stipulate and agree to

  the dismissal with prejudice of all claims that were or could have been asserted against this

  Defendant, each party to pay their own costs, expenses, and attorneys' fees.

          The Parties further request that the Court enter the attached Order dismissing with prejudice

  all claims against Old Chicago of Colorado, Inc., each party to pay their own costs, expenses, and

  attorneys’ fees.

          DATED this 2nd day of November, 2017.



   /s/ Jeff Emberton                                   /s/ Lisanne Leasure
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